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IN THE CIRC`U§T C()`URT OIP THE FIFTEENTH JUDICIAL C§RCUIT
IN ANI) FOR PALM BEACH CUUNTY, FLORIDA

RlCHARD BOSS,
P!az'm‘i]j",`
V.

'rI-.l:e eeo GROUP; CASE No.§§ ~ 20@ » C,As)O
FLoRiJ:)A i)BP“'r. 01=‘ CoRRHCTloNS; 52 .
CoRREcrloNAL CARE SOLUTroNS; ` S;)QQ<“ MB
WARDEN, SHNJ;;; br lig/ed A@
ASSISTANT WARDEN, LAWRENCE;
DocToR §ULES H§LLER M.r).
ioNATHAN NASH, r-LEALTH SVCS. AI)MN.;
NUR__SE Ai_~./reoe, ARNP;
JOHN/JANE Doe, EXECUTLVH MBBICAL oiRECToR,
TALLAHASSEE, FLoRir)A,
fndivz`dualfy Ancf fn
Thez`r Ojfficial Cczpacz`z‘z`es,
Defenddriz"($).

 

COMPLAINT AND DEMAN]} FGR HJRY TRIAL
Plain.tiff, .R.ICHARD DGSS, Sues the above named defendants and alleges:

l. 'l"liis is an action for medical malpractice, Negligence under the
“Florida Tort Ciairns Aot”, civil rights deprivation arising out of defendant’e
deliberate indifference “Di_” to his Serious medical needs “SMN” in their failure to
examine, diagnose, and treat plaintiffs multiple tom ligaments “MTL” and
documented chronic peripheral neuropathy pain Wi:iile incarcerated and violation
of the Americans Witi'i i)isabiiity Aet “ADA”, Reha`bilitation Act of 1973 “RA” by
reason of intentional discrimination “ID.” For defendants riot personally
responsible for plaintiff receiving inadequate medical care they did conspire With

those personally responsible for professional’$ lack of medical eare.

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responsible for plaintiff receiving inadequate medical care they did conspire with
those personally responsible for professionai’s lack of medical care.
_ PARTIES

2; Plaintiff,' RICHAR}:J DOSS, (hereinaiter “DOSS”) at ali times
material to this action was a resident of `Palrn Beach County and Was incarcerated
by the State of Florida (hereinai"ter “State”) and housed at South Bay Correctional
Facility (hereinatter “SBCF”).

3. Defendant The Geo Groap (“GEO”) a Plorida Corporation and entity
of tire State and/or instrumentality is a private correctional corporation and in the
business of housing prisoners with responsibility for their health care needs Geo
owned and operated SBCF in Sontli Bay Florida.

4. Defendant Correotional Care Solntions “CCS”, a Plorida Corporation
Was at all times material to this action, contracted With GEO to provide health care
to inmates at SBCP.

5. Defendant Dr. Heiler “Heiler” Was at all times material to this action
tile medical director and licensed physician to practice medicine in the state of
Florida. lie Was charged With the responsibility for providing appropriate/adequate
health care to plaintiff and others incarcerated within SBCF.

6. Det`endant Jonathan Nasli “Nash” Was the health services
administrator at SBCF and at all times material hereto Was charged Wi.th
administering adequate health care to inmates at SBCF.

7. 'i`lie Florida Dep’t_ of Corrections (FDOC) at all times material hereto
Was responsible for ensuring that all inmates received adequate health care
pursuant to the ADA/RA and further responsible for ensuring that disabled and
qualified prisoners Were not intentionally discriminated against by reason of their
disability and prevented li"orn receiving benefits of services, programs or activities

“SPA”.

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jt

S. -i)efendant ARNP Arnede “Ainede” at ali tirne’s material hereto is
licensed to practice medicine in the state and responsible for providing adequate
health care and services to the piaintii`f.

a ' seaman Waraea, stine “srle" was se warden a secs aaa
responsible for the overaii operations including the proper management of
appropriate and adequate SPA to initiates and ensuring DOSS received intended
beneficiary of federal assistance provided and vvas not treated differentiy than
similar situated disabled and non disabled prisoners

lO. Assistant Warden of prograrnS, i,AWRENCE “LA\VRENCE” at ail
times materiai hereto Was responsible for ensuring that ali disabled inmates vvithin
meaning of ADA/RA Were not discriminated against or prevented front benefiting
from SPA of GEO at SBCF.

FACTUAL ALLEGATIONS
il. On lilly 31, 2014 DOSS Was sentenced to 78 months by the State to

the Florida Departinent of Corrections “FDOC”.

12. He was transferred to five different institutions before arriving at
SBCF, a privately operated and owned facility on 10/28115.

13. About 11/15/15, DOSS began filing medicai nature grievances
“MNG” and violation of ADA/RA because all defendants were continuously
abandoning his needed health care concerning his l\/i”l`il that substantially limited
his major iit`e activity “MLA” to Waik, stand, caring for his seli`, performing
manual tasks, eating, sleeping iiiting, and bending, practically anything except
sitting and Writing.

14. GIEEO contracted vvith CCS for medical services to provide health care
to inmate at SBCF.

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15. Heller, Nash, Arnede$ GEO, CCS, and the State continuously denied
D()SS’ request for ortho consult for his obvious MTL.

16. Heller and Amede failed to properly examine diagnose, or treat
D'OSS MTL'.

l'.7. Heller, l\lash, Aznede, GEO, CCS, STINE9 and LAWRENCE, at all
times relevant hereto continue to combine, conspire, confederate and agree to deny
DOSS any medical treatment and Were Dl to his SMN`,

18. Heller, Nash, and ST§NE intentionally discriminated against DOSS
and/or used bad faith When responding to grievances by making statements that he
does not “qualif`y” for ortho consult or that he does not meet the “criteria” for MRI,
even though Heller never laid a hand on DOSS or ever turned around to look at
him during any appointment (4 appointments).

19. Frorn lU/?.S/l$ until 8/3l/16, Which is the date DGSS saw Dr. Sarns,
ortho, Who ordered MRI of Lett shoulder and Left knee, DOSS received negligent,

gross negligent or Dl medical attention While incarcerated at SBCF, including the

following
a. Repeated failures to examine, diagnose and treatment to repair MT.L.
b. R.epeated failures to provide adequate and proper treatment for

chronic peripheral neuropathy pain by prescribing nearontin. They deliberately and

intentionally denied him proper treatment for Nearopathic Pain.

c. Repeated failures and refusal to provide access to qualified and
competent physicians
d. Falsely recording mls-recording and misreporting resulting in the

course of treatment or refusal of treatment
2(}. The medical care provided by defendants, and those conspiring .With

them, fell below the generally accepted standard of care in the medical community

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21. lt took front 10/28/15 to 8/10/16 the date he finally saw ARNP
Barosey, for CCS employees to misdiagnose and refuse to examine DOSS’
obvious disability and need for qualilied medical care caused by such failures

22. On 2/5'/16, DGSS was forced to exchange his wheelchair for walker
with wheels by NASH, HHLLER, STINE, GBO, CCS, LA‘WRENCH and the State
who all conspired to deprive DOSS of his lsl, 5“‘, Su‘_, and 14th amendment rights

23. ’l`he taking of DOSS’ wheelchair and forcing hirn to rely on fully and
partially torn rotator cuffs in order to support himself with walker caused him to
suffer the unnecessary and Wanton infliction of pain while walking with walker
and falling on cement floor multiple times

24. "l`he taking of DOSS’ wheelchair was perfected for non medical
reason(s) as to the following adverse action

a. Placing an unconstitutional chill on his first amendment right to
redress the govemment through grievances when his speech Was constitutionally
protected

b. On 2/2/ 16 D{)SS requested reasonable accommodations of repairs to
handle grips, elbow rests or newer wheelchair, an aide to be moved into his cell to
help with manual tasks of making his bed, cleaning cell, toilet sink and to push
wheelchair

c. Requests were sent to classification Hodges, AWS Harnilton who
each responded on 2/4/16, that they had spoken to Nash who stated lie would be
“respond.lng momentarily” or “conducting a rcview”.

d. That after responses nom Hodges and I-larnilton, NASH summoned
DOSS to medical and personally conducted exchange t`or walker

25. Paragraph 24 demonstrates that retaliatory punishment is casually
related to the filing ot` grievances against Heller, Nash, and agreed to by STINE,

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LAWRENCE, O’Harvey, L. Bowden, Mclvlanus, FDOC, Julie iones, and the
State.

26. Although the following inmates can and do get out of their
wheelchairs, stand andfor wall<;, they never had theirs exchanged for a walker to
allegedly improve rnobility. This shows that iT)OSS’ treatment was different than
similar situated disabled inmates

a. Bob works in general library, parks wheelchair and walks around
alone He advised DOSS that if he used his name and situation “there’s gonna be a
problem”.

b. Badger, a black guy, states he needs a brace for bacl<:, leg or neck

ct Franco Webb ~»» says Nash tried to take his wheelchair but he refused,
has no ankles due to car accident

d. Castleberry »- Toolt him 3 years to have hip surgery, has wheelchair,
walker, and a cane

e. Wade -" States he broke heel l2/13. Was healed 7»-8 months later.
Does not need wheelchair, but uses it as a crotch to get certain advantages i.e.;

handicap cell

i`. loe i’edraro »~ 78 years old gets out and trains bowling1
g. Tall slim white guy pushes wheeichair everywhere cancer
h. McCoy - States he cannot get medical to give him a brace so he can

get out of wheelchair

27. AR,NP Barosey referred DGSS to ortho Dr. Sams ordered MRI but it
probably will be prolonged because of transfer. "l.`his referral and report constitutes
sufficient evidence of medical negligence and Dl to SMN

28. The negligent, grossly negligent and/or deliberately indifferent
medical treatment provided to DOSS is former described in report of ortho, Dr.

Sarns. This report must be obtained on discovery

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29. A.s a direct and proximate result of Heller, Nash, and Amede’s acts or
failures to act as described in this complaint DOSS Was caused to suffer the
following damages

a. `Severe physical pain and suffering for an extended period of time
causing aggravation of conditions they failed to diagnose When DOSS Was brought
to Heller on four different occasions and Aniede twice where DOSS subsequently
fell fourteen times and four different times in non ADA/RA confmement cells.
Specifically, M.Zl()(i (no grab bars) fell onoe; MB 196 fell twice Witliin ten minutes;
M4i04 fell off toilet aggravating injury to left hip and right elbow about one hour
before installing grab bar, fell trying to push button to flqu toilet Moved from
Mll,04 to 3106 because the button Was hard to push With a completely torn left
rotator cuff and a partially torn right rotator eaff.

b. Fear, apprehension anxiety, and other mental and emotional injuries
and suffering experienced during the period of 7 time in the defendants care and
custody

c. if)epression and suffering of suicidal thoughts in thinking that life no
longer has meaning upon the concept that there may never exist the opportunity to
have MTL repaired at age 66

d. Degradation arising out of indifferent and abusive treatment and
violation of civil rights guaranteed by the eighth and fourteenth amendment

e. Pain and suffering during the Weel<s and months _ following the
possibility or surgery and physical therapy plaintiff is forced to go throogh `

f. The real possibility that knees, shoulders and back will never rise to
the capacity previously obtained

g. Decreased ability and even substantially limited ability to Walk, run,
exercise, caring for himself eating, lifting3 bending, and standing, bathing and `

urinating (rnnst sit to pee).

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h. Scarring and disfigurement

i. Continuing_ pain and suffering and mental and emotional anguish,
anxiety, depression as Well as other suffering and diminished ability to enjoy life

`j;` "Medieal expenses to be incurred in the future

30, Plaintiff has complied with all provisions of chapter ',766 and 768.28
of the Florida Statutes. A copy of the statutory notice of claim is attached hereto
l§ixh. Pre suit investigation Was conducted through grievance complaints and their
bad faith and intentional discriminatory admission in responses by Heller, Nash,
LAWRENCE, STlNE, G§l“larvey, Mcl\/Ianus and L. Bowden.

.§QM'§...§;.
MED§CAL MALPRAC'{`XCE V GEG, CCS, HELLER, NASH, AMEDE,
EXECUHVR MEDICAL DIREC'I`OR AND STA'I`E OF FLORIDA

31. Plaintiff repeats and re~aileges paragraphs l~30 as if fully set forth
herein

32. This medical malpractice action is brought pursuant to Florida Statute
766 and all additional applicable statutory provisions

33. At all times material hereto the defendants as on site physicians or
nurse practitioners and GEO and CCS as healthcare and medical providers owed
DOSS a duty to ensure that his medical needs Were competently met according to
standards of the medical profession in the community

34. GEO, CCS, John/Jane Doe, Executive Medical director and the State
at all times material hereto owed DOSS a duty to ensure its personnel Were able to
provide adequate medical care and that sufficient quality and quantity of its
employees Were present to provide that care.

35. The same defendants in paragraph Mabove are repeated and re~
alleged as if fully set~forth herein and further state these defendants breached their

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duties to DOSS by committing some or all of the acts alleged in paragraph 30
above fife/game dower heated tv flame erda/asa

3d These same defendants in paragraph 35 above breached their duty to
DOSS by failing to provide adequate and competent supervision to meet the
medical needs of DOSS.

37. "l`he servants, agents and employees of G.EO, CCS, HBLLER, NASH,
STINE, LAWRENCE, and the State. Were at all times material to this action
acting within the course and scope of their employment As snch, they are
vicariously liable

38. All defendants as medical personnel’s negligence, jointly and
severally, directly and proximately caused the damages alleged above in paragraph
30

39. As to these same defendants alleged in paragraph 37, above, there is
no genuine bona tide defense and therefore, if these defendants attempt to defend
against liability, DOSS should be awarded attorneys fee and cost in addition to his
pain and suffering as a Pro Se litigant While sitting on his bunk with excruciating
pain to his back and chronic peripheral neuropathy pain treatment he was denied
because GEO and CCS refused to provide Neurontin and failed to replace it With
comparable treatment medication This was all caused through discriminatory
intent in forcing DOSS to have to defend himself by completing at least four rough
drafts before ever completing for typeset and refusing to settle these claims Without

trial DOSS most therefore establish liability pursuant to Fla Stat. 57.105.

WHEREFURE, the Plaintiff R_lCHARD DOSS demands judgment against
GEG, CCS, lohn/Jane Doe Executive Medical Director, FDOC, the S'I`A'l`i§,
Heller, Nash, and Arnede in this matter for compensatory damages in the amount

of $250,000.00, and medical relief for his multiple torn ligaments, back pain and

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chronic peripheral neuropathy pain treatment for life ariel all available remedies

under 763.28.

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NEGLIGENCa V. oso, ocs 3a

40. Plaintiff repeals and res-alleges paragraph l.'as if fully set forth Wtf
W herein.

41. At all times relevant hereto GEO owned and operated SBCF and as
operator of the facility, owed DOSS a non delegable duty to ensure that the
medical needs of DOSS and other inmates Were properly met.

42. GEO, at all times material hereto owed DOSS the duty to ensure that
the health care personnel employed at the facility met DOSS’ medical needs and
Were capable to provicie competent medical care by:

a. Failing to sufficiently supervise CCS and its medical personnel to
ensure that CCS had adequate medical staff at SBCF

b. F ailing to sufficiently supervise and ensure that CCS medical staff did
communicate to GBO and CCS the severity of DOSS’ symptoms as they observed
them, or should have observed them more closely

c. interfering with DOSS’ medical attention by preventing his requested
referral to ortho specialist for MTL and adequate treatment for chronic peripheral
neuropathy pain from reaching proper medical staff, specifically ARNP Barosey
Who is the health care provider Who finally began the proper procedure of referral
to ortl‘io.

d. DGSS had a previous appointment to see Barosey about 2/5/16 but

someone interfered With DOSS’ receipt of callont and/or failed and reidsecl to=

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summon DOSS from his assigned class, just like Nash did on 2/5/16, When
exchanging Wheelchair for Walker.

e. Failing to report and respond curatively to CCS obvious failures in the
assessment and treatment'of DGSS’ condition

43. 'l`he servants, agents, and employees of GEO and CCS Were at all
times material to this action, acting Within the course and scope of their
employment As such, GEO and CCS are liable for their actions pursuant to Fla
Stat§ 768.28.

44. GEO and CCS’ negligence along With Heller, Nasi'i, Amede, STINE,
and LAWRENCE jointly, severally and directly caused damages as alleged above

WHEREFORE, Plaintiff RICHARD DOSS hereby demands damages
against defendants GEO and CCS jointly and severally and proximately with other
named defendants for compensatory damages of $25(),(}00.00 and all other

remedies available under § 768.28.

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osrisnnare rsnrnrnanncn v ALL osrsnnanrs rnnsnanr 'ro 42
o.s.e. § isss, less

45. Plaintiff repeats andre~»alleges paragraph l’as if fully set forth herein

46. 'l`his count is brought against all defendants whether individually or in
their official capacity pursuant to 42 USC § 1983.

47. AS operator of a prison facility all actions of GEC employees and
agents as alleged herein were performed under color of law and in violation of
DOSS’ eighth amendment rights

48. As health care providers and of medical attention at a prison facility,
Heller, Nash, STINE, employees, agents of CCS and CCS itself as a contractor of
GEO and other political subdivision vvere acting at all times hereto under color of

law for purposes of § 1983 liali)ilityl

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49. lt is Well settled that the DI to the SMN of a prisoner constitutes the
unnecessary and Wanton infliction of pain prescribed by the eighth amendment
§Ms;_e§lg_y_g_§mq§_rl_g, 429 US 97, 104 S.' CT. 285 L. Ed. 2d 151 (l£`»i"?'o)‘7

50. Defendant’s Heller and other employees and agents of defendant’s
GEO and CCS and the State were or should have been fuliy aware of DOSS’ need

§

for medical treatment

51. Despite their knowledge or due to other Dl in assessing piaintiffs
conditions, defendant’s failed to provide even miniinaliy adequate medical care,
failed to provide l:)OSS Witii adequate and proper medication to treat chronic
peripheral neuropathy pain, failed to diagnose plaintiffs medical condition and for
all practical purposes abandoned DOSS to a painful and more serious physical
injury by preventing him to fail on cement floor and/or becoming entangled With
Wallcer Witb Wheeis because of inabiiity to catch himself due to bilateral r/c tears,
and bilateral ACL tears that in fact did exacerbate his condition by aggravating or
reinjuring or doing other serious physical injury to preexisting injuries as noted
above

52. At the time of drafting this complaint DOSS had fallen on cement
floor at least fourteen times and still counting since 2/5/16, tire date his wheelchair
Was taken He has reinjured or aggravated left hip, right elbow and exacerbated pre
existing injuries of M'I`L. Tbree times `at SFRC on 1.0/24/ 16.

5 3. At all times material bereto, defendants knew or Would have known
had they not exhibited Dl to his medical treatment and assessment that failure to
provide medical care Would result in substantial risk of serious physical injury
and/or to DOSS’ life to preclude timely and effective medical care once put on
notice by “rec§uest for sick call” or, personal oral complaints or, through grievances

but ignored

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54. fire medical services provided to DOSS by defendants Was so grossly
su.bstanclard, incompetent and/or inadequate as to be fairly characterized as medical
care so cursory as to amount to no medical care at ail.

l55. At all times material hereto, the defendants were acting in conformity
Witli or as a result of established policies, practices and customs of defendant GEO
and CCS for the provision of health care to inmates at SBCF.

56. Defendant’s failures as alleged above, are all attributable to
deliberately indifferent policies, practices procedures and customs of the
defendants

5'7. On information and belief GEO and CCS’ deliberately indifferent
policies, practices, procedures, and customs result from their failure to provide
sufficient funds and adequate staff to meet the medical needs of inmates at SBClF.

58. On an unknown date, Nash made the statement to Williarn Lowenthal,
“We’re barely above our budget.”

59. Gn information and belief GEO and CCS deliberately indifferent
policies, practices, procedures and customs allowed its inmates to go untreated as
the result of failure to establish an administrative system that Would track and
recognize When an inmate is required prompt medical attention

60. Wiiliarn Lowenthal suffers from hepatitis C; Heller gave him one year
to live if he did not receive treatrnerrc.1 Yet, Heller and Nash Would rather let him
die than to give him required treatment because it Was too expensive

sr on estimation ssa belief eeo aaa ccs or policies practices
procedures and customs in effect at the facility, at all times material to this action,
Was to intentionally delay access to proper medical care to its inmates in hopes that
they would transfer or E{)S and therefore save thousands of dollars in medical

costs alito the detriment of inmates such as the plaintiffs M'll, that Would amount

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to $40,[}()0.(}0 to 360,000.00. lnteralia; delayed the examination diagnosis and
treatment

62. On information and belief, the policy, practice, procedure and customs
stated in paragraph 61 above has caused the death of'at least one inmate (May,
lone 20i6) and possibly rnore inmates at SBCF.

63. Plaintiff repeats and re-alleges the allegations demonstrated in
paragraph di above, and further states the because of these customs that ARN_P
Sandy resigned because he did not Want to be implicated or blamed for the
intentional acts for the purpose of saving money

64. Perrnitting life threatening conditions in addition to allowing
conditions likely to cause serious physical injury or a direct threat to plaintiff and
other inmate’s health for non medical reasons is a pervasive practice vvhich is
intentional and Dl to their SMN.

65. Defendants GEO and CCS are responsible for the polices, practices,
and procedures Which govern the provision of medical care at SBCF

66. "l`hose Who rnal<e policies, practice, procedures and customs for
defendants GEO and CCS Were on notice long before DOSS Was incarcerated at
SBCF (for the second time) of the deficiencies in the provision of medical care as
alleged above

67* Under Estelle and flows Brennon, 5 ll US 824 (l994), Deliberate
lndifference has three components: (l) subjective knowledge of the risk of harm;
{2) disregard of that risk; {3) by conduct that is more than mere negligence based
on the aforementioned facts demonstrated§ it is clear that these defendants conduct
in this case has rnet all three coinponents, thus constituting Deliberate indifference
to plaintiffs serious medical needs in violation of his constitutional rights

68. Plaintiff repeats and re~alleges the facts stated and the law set forth in

paragraph 67 above and further alleges under the objective component that

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although no tragic event occurred other than causing additional, potentially serious
injury to left hip and right elbow and exacerbating preexisting multiple torn
ligarnents, the facts demonstrated in this complaint show a condition(s) that is
extreme and possess an unreasonable risk of serious damage to future health or
safety and deprives hint of the minimal civilized measure of life’s necessities, or a
condition that a risk that today’s society chooses not to tolerate

69. Defendant’s deliberate indifference directly, proximately and jointly
and severally caused plaintii`t’s damages as alleged above in paragraph 30

70. Plaintit`f DOSS demands damages of $250,(}00.00 against all
defendants named in this count directly, proximately and jointly and severally for
causing damages alleged in paragraph 30. DOSS also seeks punitive damages

always
INTENTIONAL DISCRINIINA.TION AND FAILURE TO PROVIDE
REASONABLE ACCOMl\/{ODATIDN IN VIOLATION OF ADA/RA V.
,F¢D()Cg GEO, CCS

Tbis claim arises from the FDOC, GEO, and CCS intentionally
discriminating against DOSS because of his disability 'l`hat the denial of medical
care amounts to the exclusion from medical services and this deprivation cause an
exclusion front other services, programs or activities The taking of his wheelchair
violated Title ll of the ADA, 42 USC l2132 and Section` 504 of the R_A, 29 USC
§794.

7l. DOSS sntl`ers a disability of bilateral torn ligarnents in knees and
shoulders, chronic peripheral neuropathy and musculoskeletal pain secondary to
falling 65 ’ from beam onto lower deck aboard vessel in 1978.

72. DOSS repeats and re»all.eges paragraph 71 above as if fully set forth
herein and further states he is a qualified individual with a disability and that by

reason of his disability, he is intentionally excluded from participation in benefits of

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PSA provided by the FDOC, GEO and CCS, including medical services, hygiene,
access to various parts of his ceii including proper use oi` toilet facilities (failen four
times in n.oW ADA accessibie ceiis Wiien be couid not push the button to flush the
toilet because it Was too hard to posh, no grab bars and fell off toiiet trying to push
button) or other parts of the faciiity from Which he vvas quaiiiied to participate

73. 'i`he discriminatory intent caused DOSS to be excluded from

participating iri major life activities that have substantially limited his abilities to:

a. Sleep ~ the neuropatbic and moseuioskeletal pain previously
described above deprived DOSS of the l\/iLA of sleep "i`i’ie above named
dei"endants, together With HELLER and NASH, who conspired to deny
treatment for neuropathy, amounted to medical indifference

b. Waliting, standing, stooping, bending eating, thinking
concentrating caring for himself, hygiene, bathing, performing manual
tasks, general rehabilitative and correctionai activities and day to day prison
operations-.

74. Dei`endant’s refusai to provide reasonable accorrnnodation of
Wheeichair that Was taken for non~rnedical reasons forcing DOSS to have to rely
orr completeiy and maybe partially torn R/C and torn knee iigaments amounted to
refusal to provide needed accommodations where his disability resulting
limitations and necessary reasonable accommodations Were or sbcuid have been
open, obvious and apparent it also resulted in refusal to provide such
fundamentals as mobility (Waii<er cause at least fourteen falls on cement floor
causing serious injury to left hip, both eibows and exacerbation of l\/ITL, medical
care and from 8!£2/£6 to 10/2,3/16, DOSS had rio ciean clothes or a vvay to get
clean ones and rio Way to Wash dirty ones., He was denied access to showers
because the Water Was so cold in an air conditioned dorm and officials refused to

call maintenance to repair it for at least three weeks

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75. As a result of the facts stated ahove, DOSS as a disabled prisoner Was
forced to suffer serious punishment Without penological justification

7& The discriminatory intent displayed by all defendants under § 504 of
the RA is demonstrated by the fact defendants knew that harris `to a federally
protected right Was substantially likely and they failed to act on that likelihood

77. Defendants had knowledge through grievances and appeals and
denials by ones appointed to monitor such issues but they intentionally and
deliberately ignored needed assistance under the acts.

78. "l`he FDOC, GEO and CCS, by and through its servants, agents and
employees, intentionally discriminated against DOSS When they had sufficient
knowledge or notice of discriminatory conduct by the taking of his wheelchair and
providing a walker that amount to unsafe transportation

79. Defendants Were aware of DOSS’ disability and need for
accommodations upon his transfer to SBCF on lG/ZS/l 5, and then the taking of his
Wheeichair and resultant injuries there from -The needs for necessary reasonable
accommodations Were open, obvious and apparent

8(), DOSS suffered considerable inconvenience making him unable to
conduct MLA without unusual difficultyj pain and dangerous on a daily basis
making the conditions unsuitable for a handicapped individual

Sl. The adverse consequences Were proximately caused by HELLER,
NASH, STINE, LAWRENCE, CCS and GEO,

82. These same defendants mentioned in paragraph 81 above failed to
exercise reasonable care to provide suitable quarters for DOSS as a disabled or
handicapped prisoner.

83. DOSS suffered damages set forth in paragraph 30 above that Was
proximately cause by the defendants bieach of a legal duty.

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'WHEREF{}RE, Plaintiff demands judgment against all defendants for
compensatory damages Within the juxisdictional limits of this court jointly,
severally and directly and proximately and any other remedies available under 42

`USC 1933, and the ADA/RA.

WARBEN STINE, AWP LAWRENCE §NDIVIDUALLY ANB IN
'I`HE]R OFFICIAL CAPAC§'I`IES

84. At`ter D()SS’ Wheelchair was taken from him and he Was issued a
walker With Wheels under the guise of “to improve mobility,” after only one hour
had already fallen against the wall exiting his cell. This caused him to have a black
eye for 2 weeks and DOSS and subsequently fell 14 times from 2-5~15 to 10-28-
l6. As such, STINE Was on actual and constructive notice

85. STINE either knew about DOSS’ denial of medical care er he should
have known since he signed ali of DOSS’ grievances and actually spoke With him
at least once a Week.

86. Bven though the taking of DOSS’ wheelchair was procured by
HELLER and NASH and it Was always agreed to by S'I`lN`E, E. O’HAR_VEY,
Mcl\/IANUS and L. BOWDEN. (hereinaiter “grievance defendants”)

87. Despite DOSS’ medical records traveling With him from Charlotte
and Dr. Wetterers’ detailing his need for a Wheelchair that DOSS had fallen
numerous times Within 4 months after issuance of a cane by I)r. BARRIOS, these
grievance defendants conspired to violate his federally protected rights of
ADA/RA violations and Highth Amendment Ptohihition against cruel and unusual
§unishment Where he Was forced to ambulate With a rolling Walker at SBCF and
farther at Dade until he saw ARNP Ranl<;in and not BARRIOS. As a result

a. DOSS Was unable to access certain PSA ofGEO and CCS.

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b. DOSS Was unable to access MLA that Was of central
importance to his everyday prison life for over 2 years and counting

c. DOSS’ request for reasonable accommodation of a trained
inmate impaired aide to be moved into his cell and the taking of his

Wheelchair amounted to engaging in protected activity for purposes of

retaliation claim lt also amounted to the adverse consequences of falling 14

times at SBFC and eight more until his wheelchair Was returned

88. Despite having the opportunity to correct these deficiencies GEO,
CCS, LAWRENCE, STINE and FDOC had in place either§afnh`g§gicii:dill’policy of
allowing its subordinates, employees or agents to intentionally discriminate
against disabled/handicapped prisoners’ (rnedical services and
modifications/accommodations) needed such as DOSS.

89. GEO, CCS and FDOC actions Were pursuant to municipal policy of
causing physical punishment for complaining in the form of a trained impaired
aide and a better Wheelchair or repairs to existing one.

90. GEO and CCS’ actions by and through its employees STINE,
HELLER, NASH, LAWRENCE and AMEDE maintained an official policy or
custom for Which they had actual or constructive knowledge of being intentionally
and l)l as to its known or obvious consequences

91. The violation of a federally protected right is that policy or custom
that Would delay or refuse medical care for MTL amounts to punishment without
penal justification

92. GEO and CCS .l:)y and through its employees listed above were put on
notice both verbally and in writing yet DOSS was ignored or provided responses
in bad faith by the grievance defendants 'l`iiese responses rationalized the taking
of his Wheelchair and denial of medical care that it was to improve mobility or “did

not meet the criteria” for referral or “did not complete physical therapy1 `Yet DOSS

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completed P'l` Which Was the reason Why nurse practitioner Barosey referred DOSS
to orthopedic specialist

93. GEO and CCS Were even put on notice by filing notice of intent to sue
and intent to initiate litigation provided to these defendants and GEO in Boca
Raton, Fla. Th_erei°ore, they lacked any reason not to know that its responses or
lack thereof created an obvious and substantial risk of reoccurring abuse and
injury

94. GEO and CCS had a policy and custom oi` inadequate or negligent
hiring, retention, supervision and training Hi\

95. On information and belief none o§/P§QEO and CCS employees have
received any type of training on how to treat disabled and handicapped prisoners
under the ADA based on common sense._ Therefore, GEO, CCS, and the FDOC
maintained a custom or policy of neglecting to train its agents, servants or
employees in the proper gong__mon sense,approach in how to assist and treat IWD,

96. ON 8/29/17, DOSS received surgery to repair completely torn left
R/C and bicep tendon that had been exacerbated by falls but it was re~torn by an
officer 45 days later,

97. GEO, CCS and the FDOC receives Federal Financial Assistance.

98. I)OSS exhausted administrative remedies The administrative

remedies exhausted are held by PDOC in a tile maintained by Classii`ication.

"i?i!]|ilElHi}l'¢`(}l%iEs Plaintift` Richard DOSS demands judgment against all
defendants jointly and severally and directly and approximately for compensatory
damages and all other remedies available under ABA and RA.

Plaintift` further demands jury trial on all issues so try able and punitive

damages

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IN THI§ C.IRCUIT COURT OF THE FH*`TEENTH .IUDICIAL
CIRCUET, lN AND FOR PALM BEACH COUNTY, FLOR¥DA

CASE NG. 50»201S»CA-OOSSES-XXX`X“MB
DWIS]ON: AG: Circuii Civil Cen£ral ~ AG (Civil)

R}CHARD DOSS,
P§aint&t`f`(s)
_ VS»
SU`MMONS
GEO GRGU§’,
Defendant{s)

'1"HE STATE OF FbORIDA:
T<) Eaeh Sher`lff cf the State:

\"OU ARE COMMANDED 10 serve this summons end a copy cfthe complaini or petition in this
ae£icm on defendant

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if Q; ,§ raw ,,B@@M\FL,§§'W
hac e

en az§t is equire<i to serve written defenses to the complaint or petition en:

?lai:uiff‘s , whose address is:
RICHARD ¥)OSS #921633
c/o GRACEVI`LLE CORRECT!ONAL FACIL§TY
5168 EZ,ELL RD.
Gr£aeev`z¥§ex T"`L 3244{)

within 20 days after service of this summons on that defeedam, exclusive of the dare cf Service, and 10
i`ile the original of the defenses with the clerk uf this court either before service on plaintist at‘£omey
or immediately t'§uereafier. If a defendant faiis 10 do So, a default wiil be entered against §th defendant
i"or the reiief demanded 'm the complaint er petition

Shamn R., Bock
C§erk &: Comptmlier

  
 

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Case 9:18-cv-81340-KAI\/| Document 1- 1 Entered on FLSD Docket 10/05/2018 Page 23 of 24

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§ CIRCUIT, iu AND FoR PALM BEACH CoUNTY, Ft,oRloA if

CA=SE NO.: SO»ZGl S-CA~OOBSZS-XXXX~MB
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RJCHARD DoSS-,
Ptainuft<_s.)
,.VSi SUMMONS
PERSONAL SERVIC£
on A NATURAL PERSQ‘
oeo GR.ooP,
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To wARoE:N orth _ .
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THE STA,TE Oi-` l-`LORIDA
TO EACH SHERIFF OF THE STATE.' `t'ou are commanded to ser)ge'""tl§
complaint/petition in this lawsuit on the above named defendant

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lerk ofthis Court. A phone call Wi[l not protect you.

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must also mail or take a cop ,o§t§r written response to tire >Plaintii`t`/Plain£il`l"$ Attomey, named below

 

 
 

RICHARD DOSS DC# 92l633 G`RACEV}L§.E
CORRECTLONAL l`~`ACIl,E"§`Y 5163
EZ§.EL,L R.D.
Graoeville, Fi, 32440

   

(Pla ( imist Attorney)

13ATED oi§l: S@§;) "l ?` 2918

Sharon R. Bo<:i<
C§erk & Comptro§ler

 

 

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F§LED: FALl‘v’l BEACN COUNTY, Fl.w SHARON F€, BOCK, CLERK Q/?Y!?_;G`l§§ 13:4?:19 Al\!§

Case 9:18-c\/- 81340- KAI\/| Document 1- 1 Entered on FLSD Docket 10/05/2018 Page 24 of 24

[I\l "f HE CIRCUIT COURT Ol“` THE FIFTEENTH JBDICIAL
ClRCUlT, IN AND FOR PALM BEACH COUNTY, FLORIDA

'CASE NO.: 50-2()!S-CA-OOESZS-XXXX-MB
DN{S!ON: AG: Circult Civi§ Central ~ AG {Civil)

   

RICH.ARD DOSS,
Plaintit`f{s)
_VS_ SUMM.ONS
` PERSONAL SERVLCE
Ol\l A NATURAL PERSON '“
GEO GROUP,
Defendant{s)
TO ASS§S’§`ANT WARBEN, LAWREN€§

SM B -e,'l;
arms - ar
M BWH 33{@"~ 2253

THE STATE OF FLORIDA
TO EACH SHEREFF GF "l`HE STA'I`B: `You are commanded top
complaint/petition in this lawsuit on the above named defend

 

   
   
      

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A lawsuit has been filed against yon. You have
written response to the attached 'cornplalnr./pet'
Your written response1 including the case omb r.-§

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the court to hear your side of the case l cio not‘iil le your response on time you may lose the case, ann your
wages money and property may ther _ taken without further warning from the court. There are other legal
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attorney referral service or a legal a’l<_t_. _t_)ft`lpe (llsted in the phone oook).

 

   

   

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must also mail or take a copy o'f`y§’ur written response to the >Plaintii`f/Plaintif§`s Attomey, named below

 

R]CHARD DOSS `DC# 921633 GRACEVlLLE
CGRRBCTION AL FACILlTY 5168
"EZELL RD`
Graceville, FL 3244{)

 

(Plaintlft?l§la:ntift’s Attorney)

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anaron R. Bock
Cteri< & Comptroller

 

 

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